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  NNNNNNNwmr—axr—tr—axr—tr—axr—axr—tr—axr—tr—t
                                             OOQONMAUJNHOQOOQONUIAUJNHO




 11                                                                       MICHELLE DAVIS; and CLYDE DAVIS
 12                                                                                            UNITED STATES DISTRICT COURT
 13
                                                                                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
 14
                                                                          SHELDON LOCKETT; MICHELLE            )     Case No.:
                                                                                                                          No.: 2:18-cv-5838-PJW
 15                                                                                                            )
                                                                          DAVIS; and CLYDE DAVIS,              )
 16                                                                                                            )     FIRST AMENDED COMPLAINT
                                                                                             Plaintiffs,       )     FOR DAMAGES
 17                                                                                                            )
                                                                                                               )         1. Excessive Force (42 USC § 1983)
 18                                                                                    v.
                                                                                       V.                      )
                                                                                                               )         2. Failure to Properly Screen, Hire,
                                                                                                               )              Train, Supervise,
                                                                                                                                        Su erv1se, and Discipline
 19                                                                       COUNTY OF LOS ANGELES, a                            (Monell Violation)
                                                                                                                                           iolation) (42 USC § 1983)
                                                                          public entity; LOS ANGELES
                                                                                                               )         3. Assault
 20                                                                                                            )
                                                                          COUNTY SHERIFF’S
                                                                                      SHERIFF’S                )         4. Battery
                                                                                                                         5. Negligence
                                                                                                                               Ne ligence
 21                                                                       DEPARTMENT, a law enforcement ))               6. False
                                                                                                                               Fa se Arrest
 22                                                                       agency; SHERIFF JIM McDONNELL; )               7. False Imprisonment
                                                                          MIZRAIN ORREGO, a Deputy Los         )         8. Violation of California Civil Code
 23                                                                                                            )              §$752.
                                                                                                                                 52.1
                                                                                                                                    .1 (Bane Civil Rights Act)
                                                                          Angeles County Sheriff; SAMUEL       )         9. Violation
                                                                                                                                 iolation of California
                                                                                                                                              Califorma Civil Code
 24                                                                       ALDAMA, a Deputy Los Angeles         )              §%51.
                                                                                                                                 51.7
                                                                                                                                    .7 (Ralph
                                                                                                                                       (RalBh Civil Rights Act)
                                                                          County Sheriff; and DOES 11 through ))         10. Unreasonable
                                                                                                                                 nreasonaﬁle Search and Seizure
 25                                                                                                                           (42 USC
                                                                                                                                   USC§   § 1983)
                                                                                                                                            1983
                                                                          100,
                                                                          100, inclusive,                      )         11.. Intentional Infliction
                                                                                                                                             Inﬂlction of
                                                                                                                                                        0f Emotional
 26                                                                                                            )              Distress
                                                                                             Defendants.       )         12.. Negligent Infliction
                                                                                                                                           Inﬂiction of Emotional
 27                                                                                                            )              Distress
                                                                                                               )
 28                                                                                                            )     DEMAND FOR JURY TRIAL

                                                                                                                    11
                                                                                                                                                     DAMAGES
                                                                                                                         FIRST AMENDED COMPLAINT FOR DAMAGES
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                                     1                                        The following is a Complaint for damages brought by Plaintiffs by and
                                   OOOQONUIAUJNH




                                     2                               through their attorneys, who allege on information and belief
                                                                                                                            belief as follows:
                                     3                                        1.
                                                                              1.    This is a civil rights action seeking monetary damages from Defendants
                                     4                               for use of excessive force and the violation of various civil rights, resulting in
                                     5                               injuries and damages to Plaintiffs in the city of Compton, California on January 15,
                                     6                               2016.
                                                                     201 6.
                                     7                                        2.    This action is brought pursuant to 42 U.S.C. §§ 1983
                                                                                                                                    1983 and 1988,
                                                                                                                                             1988, and the
                                     8                               Fourth and Fourteenth Amendments of the United States Constitution as well as the
                                     9                               Constitution and laws of the State of California.
 10                                                                                             JURISDICTION AND VENUE
  NNNNNNNNNr—‘r—‘r—‘r—‘r—‘r—‘r—‘r—‘r—‘H
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 11                                                                           3.    Jurisdiction is founded upon 28 U.S.C. §§ 1331
                                                                                                                              1331 and 1343(a)(3)-(4),
                                                                                                                                       1343(a)(3)-(4), and
 12                                                                  the aforementioned statutory and constitutional provisions. Plaintiffs further invoke
 13                                                                  the supplemental jurisdiction of this Court pursuant to 28 U.S.C. § 1367
                                                                                                                                         1367 to hear and
 14                                                                  decide claims arising under state law.
 15                                                                           4.    The events, acts, and/or omissions complained of herein occurred in the
 16                                                                  City of Compton, Los Angeles County, California. This action is properly assigned
 17                                                                  to the Western Division of the United States District Court for the Central District of
 18                                                                  California.
 19                                                                                              PARTIES TO THE ACTION
 20                                                                           5.    Plaintiffs SHELDON LOCKETT, MICHELLE DAVIS, and CLYDE
 21                                                                  DAVIS (hereinafter
                                                                           (hereinafter “Plaintiffs”)
                                                                                        “Plaintiffs”) were
                                                                                                      were individuals residing in the County of Los
 22                                                                  Angeles, California.
 23                                                                           6.    Defendant COUNTY OF
                                                                                                     OF LOS
                                                                                                        LOS ANGELES
                                                                                                            ANGELES (hereinafter
                                                                                                                    (hereinafter “COUNTY”)
                                                                                                                                 “COUNTY”) is
                                                                                                                                           is
 24                                                                  now, and all times mentioned in this complaint was, a municipal corporation and
 25                                                                  political subdivision organized and existing under the laws of the State of California.
 26                                                                  The COUNTY owns, operates, manages, directs, and controls Defendant LOS
 27                                                                  ANGELES COUNTY SHERIFF’S
                                                                                    SHERIFF’S DEPARTMENT
                                                                                              DEPARTMENT (hereinafter
                                                                                                         (hereinafter
 28                                                                  “DEPARTMENT”),
                                                                     “DEPARTMENT”), an
                                                                                    an operating
                                                                                       operating department
                                                                                                 department of the COUNTY.
                                                                                                            of the COUNTY.

                                                                                                                 2
                                                                                                                                                 DAMAGES
                                                                                                                     FIRST AMENDED COMPLAINT FOR DAMAGES
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                                       1                                   7.                           MCDONNELL (hereinafter
                                                                                  Defendant SHERIFF JIM McDONNELL (hereinafter “SHERIFF”)
                                                                                                                               “SHERIFF”) at
                                     OOOQONUIAWNH




                                       2                             all material times was employed as Sheriff for the Defendant DEPARTMENT by
                                       3                             Defendant COUNTY.
                                       4                                   8.     Defendant
                                                                                  Defendant Deputy
                                                                                            Deputy MIZRAIN
                                                                                                   MIZRAIN ORREGO
                                                                                                           ORREGO (hereinafter
                                                                                                                  (hereinafter “ORREGO”)
                                                                                                                               “ORREGO”) at
                                                                                                                                         at
                                       5                             all material times was employed as a deputy officer
                                                                                                                 ofﬁcer of the Defendant
                                       6                             DEPARTMENT by Defendant COUNTY.
                                       7                                   9.     Defendant
                                                                                  Defendant Deputy
                                                                                            Deputy SAMUEL
                                                                                                   SAMUEL ALDAMA
                                                                                                          ALDAMA (hereinafter
                                                                                                                 (hereinafter “ALDAMA”)
                                                                                                                              “ALDAMA”) at
                                                                                                                                        at
                                       8                             all material times was employed as a deputy officer
                                                                                                                 ofﬁcer of the Defendant
                                       9                             DEPARTMENT by Defendant COUNTY.
 10                                                                        10.
                                                                           10.    In doing the acts alleged in this complaint, Defendants SHERIFF,
  NNNNNNNwmr—‘r—tr—‘r—tr—‘r—‘r—tr—‘r—tr—t
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 11                                                                  ORREGO, and ALDAMA were acting under color of statutes, ordinances,
 12                                                                  regulations, customs, laws, and usages of Defendant COUNTY, Defendant
 13                                                                  DEPARTMENT, and the State of California under their respective offices.
                                                                                                                                    ofﬁces.
 14                                                                        11.
                                                                           11.    Plaintiffs are ignorant of the true names and/or capacities of Defendants
 15                                                                  sued herein as DOE defendants 11 through 100,
                                                                                                              100, inclusive, and therefore sues these
 16                                                                                     ﬁctitious names. Plaintiffs will amend this complaint to allege
                                                                     Defendants by such fictitious
 17                                                                  their true names and capacities when ascertained. Plaintiffs are informed and
 18                                                                                                              ﬁctitiously named Defendants is
                                                                     believe and thereon allege that each of the fictitiously
 19                                                                  responsible in some manner for the occurrences herein alleged, and that the
 20                                                                  Plaintiffs’ injuries as herein alleged were proximately caused by the acts and/or
 21                                                                                    ﬁctitiously named Defendants.
                                                                     omissions of said fictitiously
 22                                                                        12.
                                                                           12.    DOE Defendants 11 through 20, and each of them, are and were at all
 23                                                                  times relevant hereto, employees, deputy sheriffs, police officers,
                                                                                                                               ofﬁcers, sergeants,
 24                                                                  investigators, and other supervisor police and civilian employees of COUNTY,
 25                                                                  acting within their capacity as employees, agents, and servants of the Defendant
 26                                                                  COUNTY. These Defendants were at all times herein alleged acting within the
 27                                                                  course and scope of that employment and agency. DOES 11 through 20 are sued
 28                                                                  individually and in their capacity as deputies, officers,
                                                                                                                     ofﬁcers, sergeants, captains, and other

                                                                                                                3
                                                                                                                                                DAMAGES
                                                                                                                    FIRST AMENDED COMPLAINT FOR DAMAGES
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                                       1                               police officers
                                                                              ofﬁcers for Defendant COUNTY.
                                     OOOQONUIAUJNH




                                       2                                      13.
                                                                              13.    Plaintiffs are informed and believe and thereon allege that each of the
                                       3                               Defendants sued herein was negligently, wrongfully, and otherwise responsible in
                                       4                               some manner for the events and happenings as hereinafter described, and
                                       5                               proximately caused injuries and damages to Plaintiffs. Further, one or more DOE
                                       6                               defendants was at all material times responsible for the hiring, training, supervision,
                                       7                               and discipline of the Defendants, including DOE Defendants.
                                       8                                      14.
                                                                              l4.    Plaintiffs are informed and believe, and thereon allege, that each of the
                                       9                               Defendants was at all material times an agent, servant, employee, partner, joint
 10                                                                    venture, co-conspirator, and/or alter ego of the remaining Defendants, and in doing
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 11                                                                    the things herein alleged, was acting within the course and scope of that relationship.
 12                                                                           15.
                                                                              15.    Plaintiffs are further informed and believe, and thereon allege, that each
 13                                                                    Defendant herein gave consent, aid, and assistance to each of the remaining
 14                                                                    Defendants, and ratified
                                                                                       ratiﬁed and/or authorized the acts or omissions of each Defendant
 15                                                                    as alleged herein, except as may be hereinafter otherwise specifically
                                                                                                                                 speciﬁcally alleged. At all
 16                                                                    material times, each Defendant was jointly engaged in tortious activity resulting in
 17                                                                    the deprivation of Plaintiffs’ constitutional rights and other harm.
 18                                                                           16.
                                                                              16.    The acts and omissions of all Defendants as set forth herein were at all
 19                                                                    material times pursuant to the actual custom, policies, practices, and procedures of
 20                                                                    the DEPARTMENT.
 21                                                                           17.
                                                                              17.    At all material times, each Defendant acted under color of the laws,
 22                                                                    statutes, ordinances, and regulations of the State of California.
 23                                                                           18.
                                                                              18.    This action is timely filed within all applicable statutes of limitations.
 24                                                                           19.
                                                                              19.    This complaint may be pled in the alternative pursuant to Federal Rules
 25                                                                    of
                                                                       of Civil Procedure, Rule 8(d)(2).
 26                                                                                   FACTS COMMON TO ALL CAUSES OF ACTION
 27                                                                           20.    Plaintiffs reallege each and every paragraph in this complaint as if it is
 28                                                                    fully set forth here.

                                                                                                                    44
                                                                                                                                                     DAMAGES
                                                                                                                         FIRST AMENDED COMPLAINT FOR DAMAGES
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  1           21.   This complaint concerns an incident that took place on January 15,
  2   2016 in the City of Compton, California near 910 North Oleander Avenue.
  3           22.   On said date and at said location, in the early afternoon hours in broad
  4   daylight, said Defendants, ORREGO and ALDAMA, drove in a Sheriff’s radio car
  5   in a rapid and aggressive manner toward Plaintiff SHELDON LOCKETT, who was
  6   simply standing near the front of his Godmother’s home with a friend.
  7           23.   Defendants ORREGO and ALDAMA exited the radio car with their
  8   guns drawn and trained on Plaintiff SHELDON LOCKETT and his friend, shouting
  9   commands in loud voices.
 10           24.   Plaintiff SHELDON LOCKETT and his friend had not committed any
 11   crime, and were not in possession of any weapon whatsoever.
 12           25.   Because of the aggressive, unreasonable, and illegal actions of
 13   Defendants ORREGO and ALDAMA, Plaintiff SHELDON LOCKETT became
 14   frightened for his life and ran.
 15           26.   At that point, Defendants ORREGO and ALDAMA, transmitted a false
 16   Sheriff’s Department radio broadcast that stated that Plaintiff SHELDON
 17   LOCKETT produced a gun from his waist area and was fleeing.
 18           27.   Said false radio broadcast precipitated the response of several other
 19   deputies.
 20           28.   Plaintiff SHELDON LOCKETT was found by Defendants, and each of
 21   them, hiding and frightened in back of a nearby home where he attempted to
 22   surrender to deputies. Nevertheless, Defendants ALDAMA and ORREGO severely
 23   battered Plaintiff SHELDON LOCKETT with their fists, feet, batons, and Taser
 24   electronic weapons about Plaintiff SHELDON LOCKETT’S head, arms, torso and
 25   legs.
 26           29.   Simultaneous to said battering of Plaintiff SHELDON LOCKETT, who
 27   is African American, Defendants ORREGO and ALDAMA were yelling at him
 28   using the vile racial epithet “Nigger” repeatedly.

                                                  5
                                                      FIRST AMENDED COMPLAINT FOR DAMAGES
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                                       1                                      30.     After Defendants and each of them had Plaintiff SHELDON
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                                       2                               LOCKETT under arrest, one of the Defendant deputies purposefully and violently
                                       3                               rammed the end of a police baton in the eye socket of Plaintiff SHELDON
                                       4                               LOCKETT which caused him permanent damage.
                                       5                                      31.     At no time prior to said severe beating of Plaintiff SHELDON
                                       6                               LOCKETT did he pose any threat, in any manner, to Defendants ORREGO and
                                       7                               ALDAMA and DOES 11 through 100.
                                                                                                  100.
                                       8                                      32.     Although Defendants ORREGO and ALDAMA knew that Plaintiff
                                       9                               SHELDON LOCKETT had not committed any crime, they arrested him, filed a false
 10                                                                                                                                                ﬁled
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                                                                       police report, and caused the very serious charge of attempted murder to be filed
                                        OOQONMAUJNHOQOOQONUIAUJNl-‘O




 11                                                                    against him.
 12                                                                           33.     Plaintiff SHELDON LOCKETT was jailed, with a bail that he could
 13                                                                    not afford to post for eight (8) months, until the case against him was dismissed in
 14                                                                    the interest of justice.
                                                                                    ofjustice.
 15                                                                           34.     Immediately after the arrest of Plaintiff SHELDON LOCKETT, his
 16                                                                                                     ﬁled a citizen complaint against Defendants
                                                                       mother, Plaintiff MICHELLE DAVIS filed
 17                                                                    ORREGO and ALDAMA for their illegal actions as described above.
 18                                                                           35.                                        ﬁled regarding Defendants
                                                                                      Although a citizen’s complaint was filed
 19                                                                    ORREGO and ALDAMA, Defendants COUNTY, DEPARTMENT and SHERIFF
 20                                                                    failed to investigate or initiate any disciplinary action against Defendants ORREGO
 21                                                                    and ALDAMA.
 22                                                                           36.     Instead, approximately one (1) month after Plaintiff MICHELLE
 23                                                                          ﬁled her citizen’s
                                                                       DAVIS filed    citizen’s complaint as described herein, and in an apparent
 24                                                                                    ﬁling the complaint, deputies of Defendant DEPARTMENT served a
                                                                       retaliation for filing
 25                                                                    search warrant on the residence of Plaintiffs MICHELL DAVIS and CLYDE
 26                                                                    DAVIS, claiming to be looking for a gun which deputies knew did not exist.
 27                                                                           37.     During the service of the search warrant, the front door was breached
 28                                                                    such that it was knocked off of its hinges and destroyed. The remainder of Plaintiffs

                                                                                                                   6
                                                                                                                                                   DAMAGES
                                                                                                                       FIRST AMENDED COMPLAINT FOR DAMAGES
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                                       1                               MICHELLE
                                                                       MICHELLE DAVIS
                                                                                DAVIS and
                                                                                      and CLYDE
                                                                                          CLYDE DAVIS’
                                                                                                DAVIS’ home was purposefully damaged.
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                                       2                                                             FIRST CAUSE OF ACTION
                                       3                                                                        – EXCESSIVE FORCE
                                                                                               42 U.S.C. § 1983 —
                                       4                               PLAINTIFFS AGAINST DEFENDANTS ORREGO, ALDAMA,
                                                                                                             ALDAMA, and DOES 1-20
                                       5                                     38.    Plaintiffs reallege each and every paragraph in this complaint as if fully
                                       6                               set forth herein.
                                       7                                     39.    By the actions and omissions described above, Defendants ORREGO,
                                       8                               ALDAMA, and DOES 1-20
                                                                                        1-20 violated 42 U.S.C. § 1983,
                                                                                                                  1983, depriving Plaintiffs of the
                                       9                               following clearly-established and well-settled constitutional rights protected by the
 10                                                                    Fourth and Fourteenth Amendments to the United States Constitution:
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                                        OOQONMAUJNHOQOOQONUIAUJNl-‘O




 11                                                                                 a. The right to be free from unreasonable searches and seizures as
 12                                                                                        secured by the Fourth and Fourteenth Amendments;
 13                                                                                 b. The right to be free from excessive and unreasonable force in the
 14                                                                                        course of arrest or detention as secured by the Fourth and Fourteenth
 15                                                                                        Amendments;
 16                                                                                 c. The right to be free from the unlawful use of a Taser as secured by
 17                                                                                        the Fourth and Fourteenth Amendments; and
 18                                                                                 d. The right to be free of unlawful, reckless, deliberately indifferent,
 19                                                                                        and conscience-shocking excessive force as secured by the
 20                                                                                        Fourteenth Amendment.
 21                                                                          40.    Defendants subjected Plaintiffs to their wrongful conduct, depriving
 22                                                                    Plaintiffs of rights described herein, knowingly, maliciously, and with conscious and
 23                                                                    reckless disregard for whether the rights and safety of Plaintiffs and others would be
 24                                                                    violated by their acts and/or omissions.
 25                                                                          41.    As aa direct
                                                                                    As    direct and proximate result
                                                                                                 and proximate result of
                                                                                                                      of Defendants’
                                                                                                                         Defendants’ acts
                                                                                                                                     acts and/or omissions
 26                                                                    as set forth above, Plaintiffs sustained injuries and damages as set forth in this
 27                                                                    complaint.
 28                                                                          42.    The conduct of Defendants entitles Plaintiffs to punitive damages and

                                                                                                                     7
                                                                                                                                                     DAMAGES
                                                                                                                         FIRST AMENDED COMPLAINT FOR DAMAGES
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                                       1                               penalties allowable under 42 U.S.C. § 1983
                                                                                                             1983 and California Code of Civil Procedure
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                                       2                               § 3294.
                                       3                                     43.    Plaintiffs are entitled to reasonable
                                                                                                   entitled to reasonable costs
                                                                                                                          costs and
                                                                                                                                and attorneys’
                                                                                                                                    attorneys’ fees under 42
                                                                                                                                               fees under 42
                                       4                               U.S.C. § 1983
                                                                                1983 and California Civil Code § 1021.5.
                                                                                                                 1021.5.
                                       5                                                          SECOND CAUSE OF ACTION
                                       6                                                   – FAILURE TO PROPERLY SCREEN, HIRE, TRAIN,
                                                                          42 U.S.C. § 1983 —
                                       7                                           SUPERVISE, OR DISCIPLINE (MONELL VIOLATION)
                                       8                                  PLAINTIFF SHELDON LOCKETT AGAINST DEFENDANTS COUNTY,
                                       9                                                   DEPARTMENT, SHERIFF, and DOES 1-20
 10                                                                          44.    Plaintiff SHELDON LOCKETT realleges each and every paragraph in
  NNNNNNNwmr—‘r—tr—‘r—tr—‘r—‘r—tr—‘r—tr—t
                                        OOQONMAUJNHOQOOQONUIAUJNt-‘O




 11                                                                    this complaint as if fully set forth herein.
 12                                                                          45.    The unconstitutional actions and omissions of Defendants COUNTY,
 13                                                                    DEPARTMENT, and DOES 1-20
                                                                                            1-20 as well as others employed by or acting on behalf
 14                                                                    of
                                                                       of Defendant COUNTY, on information and belief, were carried out pursuant to the
 15                                                                    following customs, policies, practices, and/or procedures of the DEPARTMENT,
 16                                                                    stated in the alternative, which were directed, encouraged, allowed, and/or ratified
 17                                                                    by policy making officers/deputies
                                                                                        ofﬁcers/deputies for Defendants COUNTY and DEPARTMENT:

 18                                                                          a.     To use or tolerate the use of excessive and/or unjustified force;

 19                                                                          b.     To use or tolerate the use of unlawful tasing of arrestees/detainees;

 20                                                                          c.     To use or
                                                                                    To use or tolerate
                                                                                              tolerate racial
                                                                                                       racial animus by Defendant
                                                                                                              animus by Defendant DEPARTMENT’S
                                                                                                                                  DEPARTMENT’S

 21                                                                                 employees, including the use of racial slurs and epithets during

 22                                                                                 detentions and arrests;

 23                                                                          d.     To fail to use appropriate and generally accepted law enforcement

 24                                                                                 procedures for detentions and arrests;

 25                                                                          e.     To cover up violations of constitutional rights by all of the following:
                                                                                                                                                  following:

 26
                                                                                   i.     By failing to properly investigate and/or evaluate complaints or

 27                                                                                       incidents of excessive and unreasonable force, and/or unlawful

 28                                                                                       seizures;

                                                                                                                      8
                                                                                                                                                      DAMAGES
                                                                                                                          FIRST AMENDED COMPLAINT FOR DAMAGES
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                                       1                               ii.   By ignoring and/or failing to properly and adequately investigate
                                     OOOQONUIAUJNH




                                       2                                     and discipline unconstitutional or unlawful police activity,
                                       3                                     including the proliferation
                                                                             including the proliferation of
                                                                                                         of “cliques”
                                                                                                            “cliques” or
                                                                                                                      or “gangs” within the
                                                                                                                         “gangs” within the
                                       4                                     Defendant DEPARTMENT, which has a long history of such
                                       5                                     cliques/gangs dating back to the early 1970’s.
                                                                                                                    1970’s. Such cliques/gangs
                                       6                                     include the Little Devils, Cavemen, Vikings, Regulators, 3000
                                       7                                     Boys, Jump Out Boys, and now a heretofore unknown clique/gang
                                       8                                     within
                                                                             within the
                                                                                    the Compton
                                                                                        Compton Sheriff’s
                                                                                                Sheriff’s station,
                                                                                                          station, whose ranks include
                                       9                                     approximately 20 deputies, including Defendant ALDAMA. Said
 10                                                                          cliques/gangs are responsible for violent illegal acts and are
  NNNNNNNwmr—‘r—tr—‘r—tr—‘r—‘r—tr—‘r—tr—t
                                        OOQONMAUJNHOQOOQONUIAUJNl-‘O




 11                                                                          rewarded for those acts. Plaintiffs are informed and thereupon
 12                                                                          allege that some senior commanders within the Defendant
 13                                                                          DEPARTMENT are clique/gang members and have tattoos tying
 14                                                                          them to their gangs. Plaintiffs are informed and believe and
 15                                                                          thereupon allege that said senior commanders know of the
 16                                                                          proliferation of clique/gangs within Defendant DEPARTMENT
 17                                                                          and that they condone and ratify their violent, illegal conduct.
 18                                                                          Defendant DEPARTMENT and its employees, including the
 19                                                                          aforementioned senior commanders, had a policy, practice and/or
 20                                                                          custom of condoning and allowing said cliques/gangs to exist,
 21                                                                          associate, operate, recruit, and act with impunity within the ranks
 22                                                                          of the DEPARTMENT and a policy, practice and/or custom of
 23                                                                          failing to investigate said cliques/gangs. Said policies, customs
 24                                                                          and/or practices were
                                                                             and/or practices were the moving force
                                                                                                   the moving       behind Plaintiffs’
                                                                                                              force behind Plaintiffs’ injuries
                                                                                                                                       injuries
 25                                                                          because Plaintiffs are informed and believe that Defendants
 26                                                                          ALDAMA and DOES 1-20
                                                                                             1-20 were members of the heretofore
 27                                                                          unknown gang/clique, and that they were positioned to commit
 28                                                                          acts of violence against Plaintiffs in association with that

                                                                                                      9
                                                                                                                                      DAMAGES
                                                                                                          FIRST AMENDED COMPLAINT FOR DAMAGES
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                                       1                                                  membership.
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                                       2                                           iii.   By allowing, tolerating, and/or encouraging police officers who:
                                                                                                                                             ofﬁcers who:
                                       3                                                       1.         ﬁle complete and accurate police reports;
                                                                                               1. Fail to file
                                       4                                                       2. File false police reports;
                                       5                                                       3. Make false statements;
                                       6                                                       4. Intimidate, bias, and/or coach witnesses to give false
                                       7                                                          information
                                                                                                  information and/or
                                                                                                              and/or to bolster officers’
                                                                                                                     to bolster ofﬁcers’ stories;
                                                                                                                                          stories; and/or
                                                                                                                                                   and/or
                                       8                                                       5. Obstruct or interfere with investigations of unconstitutional
                                       9                                                          or unlawful police conduct by withholding and/or
  10                                                                                              concealing material information;
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  11                                                                         f.       To
                                                                                      To allow,
                                                                                         allow, tolerate,
                                                                                                tolerate, and/or
                                                                                                          and/or encourage
                                                                                                                 encourage aa “code
                                                                                                                              “code of
                                                                                                                                    of silence”
                                                                                                                                       silence” among
                                                                                                                                                among law
                                                                                                                                                      law
  12                                                                                  enforcement officers
                                                                                                  ofﬁcers and DEPARTMENT personnel, whereby an
  13                                                                                  officer/deputy
                                                                                      ofﬁcer/deputy or member of the DEPARTMENT does not provide
  14                                                                                  adverse information against a fellow officer/deputy
                                                                                                                           ofﬁcer/deputy or member of the
  15                                                                                  DEPARTMENT; and
  16                                                                         g.       To use or tolerate inadequate, deficient,
                                                                                                                     deﬁcient, and improper procedures for
  17                                                                                  handling, investigating, and reviewing complaints of officer
                                                                                                                                           ofﬁcer misconduct
  18                                                                                  made under California Government Code § 910.
  19                                                                         46.      Defendants subjected Plaintiff SHELDON LOCKETT to their wrongful
  20                                                                   conduct, depriving Plaintiff SHELDON LOCKETT of rights described herein,
  21                                                                   knowingly, maliciously, and with conscious and reckless disregard for whether the
  22                                                                   rights and safety of Plaintiff SHELDON LOCKETT and others would be violated by
  23                                                                   their acts and/or omissions.
  24                                                                         47.      As aa direct
                                                                                      As    direct and proximate result
                                                                                                   and proximate result of
                                                                                                                        of Defendants’
                                                                                                                           Defendants’ acts
                                                                                                                                       acts and/or
                                                                                                                                            and/or omissions
                                                                                                                                                   omissions
  25                                                                   as set forth above, Plaintiff
                                                                                           Plaintiff SHELDON LOCKETT sustained injuries and damages
  26                                                                   as set forth in this complaint.
  27                                                                         48.      The conduct of Defendants entitles Plaintiff SHELDON LOCKETT to
  28                                                                   punitive damages and penalties allowable under 42 U.S.C. § 1983
                                                                                                                                  1983 and California

                                                                                                                   10
                                                                                                                   10
                                                                                                                                                 DAMAGES
                                                                                                                     FIRST AMENDED COMPLAINT FOR DAMAGES
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                                       1                               Code of Civil Procedure § 377.20, et seq.
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                                       2                                     49.    Plaintiff SHELDON LOCKETT is entitled to reasonable costs and
                                       3                               attorneys’
                                                                       attorneys’ fees under 42
                                                                                  fees under    U.S.C. §§ 1983
                                                                                             42 U.S.C.    1983 and
                                                                                                               and California
                                                                                                                   California Code
                                                                                                                              Code of
                                                                                                                                   of Civil
                                                                                                                                      Civil Procedure
                                                                                                                                            Procedure §
                                                                                                                                                      §
                                       4                               377.20, et seq.
                                       5                                     50.    Defendants COUNTY, DEPARTMENT, SHERIFF, and DOES 11
                                       6                               through 20 failed to properly hire, train, instruct, monitor, supervise, evaluate,
                                       7                               investigate, and discipline Defendants ALDAMA, ORREGO, and DOES 11 through
                                       8                               20, as well as other DEPARTMENT personnel, with deliberate indifference to
                                       9                               Plaintiff SHELDON LOCKETT’S constitutional rights, which were thereby violated
  10
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                                                                       as described above.
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  11                                                                         51.    The unconstitutional actions and/or omissions of Defendants and other
  12                                                                   DEPARTMENT personnel, as described above, were approved, tolerated, and/or
  13                                                                   ratified by policy-making officers for the DEPARTMENT.
  14                                                                         52.    Plaintiff SHELDON LOCKETT is informed and believes and thereon
  15                                                                   alleges that the details of the subject incident were revealed to the authorized
  16                                                                   policymakers within the COUNTY and DEPARTMENT, including SHERIFF, and
  17                                                                   that
                                                                       that such policymakers have
                                                                            such policymakers have direct knowledge of
                                                                                                   direct knowledge    the fact
                                                                                                                    of the fact that
                                                                                                                                that Plaintiff’s beating,
                                                                                                                                     Plaintiff’s beating,
  18                                                                   tasing, detention, and arrest were not justiﬁed,
                                                                                                              justified, but rather represented an
  19                                                                   unconstitutional display of unreasonable and excessive force.
  20                                                                         53.    Notwithstanding this knowledge, the authorized policymakers within
  21                                                                   the COUNTY and DEPARTMENT, including SHERIFF, have approved of
  22                                                                   Defendants ALDAMA, ORREGO, and DOES 1-20,
                                                                                                           1-20, and have made a deliberate

  23                                                                   choice to endorse these Defendants’
                                                                                 endorse these             use of
                                                                                               Defendants’ use of force
                                                                                                                  force against, and detention and arrest of,

  24                                                                   Plaintiff SHELDON LOCKETT. By doing so, the authorized policymakers within
  25                                                                   the COUNTY and DEPARTMENT have shown affirmative
                                                                                                            afﬁrmative agreement with the

  26                                                                   individual
                                                                       individual Defendant
                                                                                  Defendant deputies’
                                                                                            deputies’ actions,
                                                                                                      actions, and
                                                                                                               and have ratified the
                                                                                                                   have ratiﬁed  the unconstitutional
                                                                                                                                     unconstitutional acts
                                                                                                                                                      acts of
                                                                                                                                                           of

  27                                                                   the individual Defendants.
  28                                                                         54.    The aforementioned customs, policies, and procedures; the failure to

                                                                                                                   11
                                                                                                                   11
                                                                                                                                                DAMAGES
                                                                                                                    FIRST AMENDED COMPLAINT FOR DAMAGES
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                                       1                               properly and adequately hire, train, instruct, monitor, supervise, evaluate,
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                                       2                               investigate, and discipline; as well as the unconstitutional orders, approvals,
                                       3                               ratification, and toleration of wrongful conduct by DEPARTMENT personnel of
                                                                       ratiﬁcation,
                                       4                               Defendants COUNTY, DEPARTMENT, SHERIFF, and DOES 11 through 20 were a
                                       5                               moving force and a proximate cause of deprivations of Plaintiff SHELDON
                                       6                               LOCKETT’s clearly-established
                                                                                 clearly-established and well-settled constitutional rights, in violation of
                                       7                               42 U.S.C. § 1983.
                                                                                   1983.
                                       8                                     55.    Defendants subjected Plaintiff SHELDON LOCKETT to their wrongful
                                       9                               conduct, depriving Plaintiff of rights described herein knowingly, maliciously, and
  10                                                                   with conscious and reckless disregard for whether the rights and safety of Plaintiff
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  11                                                                   SHELDON LOCKETT and others would be violated by their acts and/or omissions.
  12                                                                         56.    As a direct and proximate result of the unconstitutional actions,
  13                                                                   omissions, customs, policies, practices, and procedures of Defendants as described
  14                                                                   above, Plaintiff SHELDON LOCKETT sustained serious and permanent injuries and
  15                                                                   is entitled to damages
                                                                                      damages and penalties, costs,
                                                                                              and penalties, costs, and
                                                                                                                    and attorneys’
                                                                                                                        attorneys’ fees
                                                                                                                                   fees as
                                                                                                                                        as set
                                                                                                                                           set forth
                                                                                                                                               forth above,
                                                                                                                                                     above, and
                                                                                                                                                            and
  16                                                                   punitive damages against Defendants ORREGO, ALDAMA, SHERIFF, and DOES
  17                                                                   1-20
                                                                       1-20 in their individual capacities.
  18                                                                                               THIRD CAUSE OF ACTION
  19                                                                                                          ASSAULT
  20                                                                         PLAINTIFF SHELDON LOCKETT AGAINST ALL DEFENDANTS
  21                                                                         57.    Plaintiff SHELDON LOCKETT realleges each and every paragraph in
  22                                                                   this complaint as if fully set forth herein.
  23                                                                         58.    The actions and/or omissions of Defendants ORREGO, ALDAMA,
  24                                                                   DOES 1-20,
                                                                            1-20, and the COUNTY as set forth above constitute assault.
  25                                                                         59.    As aa direct
                                                                                    As    direct and proximate result
                                                                                                 and proximate result of
                                                                                                                      of Defendants’
                                                                                                                         Defendants’ assault as set forth
  26                                                                   above, Plaintiff SHELDON LOCKETT sustained injuries and damages as set forth
  27                                                                   in this complaint.
  28                                                                         60.    Plaintiff
                                                                                    Plaintiff SHELDON LOCKETT is entitled to relief as set forth above

                                                                                                                      12
                                                                                                                      12
                                                                                                                                                   DAMAGES
                                                                                                                       FIRST AMENDED COMPLAINT FOR DAMAGES
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                                     1                               and punitive damages against all Defendants in their individual capacities.
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                                     2                                                          FOURTH CAUSE OF ACTION
                                     3                                                                      BATTERY
                                     4                                     PLAINTIFF SHELDON LOCKETT AGAINST ALL DEFENDANTS
                                     5                                     61.    Plaintiff SHELDON LOCKETT realleges each and every paragraph in
                                     6                               this complaint as if fully set forth herein.
                                     7                                     62.    The actions and/or omissions of Defendants ORREGO, ALDAMA, and
                                     8                               DOES 1-20
                                                                          1-20 and the COUNTY as set forth above constitute battery.
                                     9                                     63.    As aa direct
                                                                                  As    direct and proximate result
                                                                                               and proximate result of
                                                                                                                    of Defendants’ battery as
                                                                                                                       Defendants’ battery as set
                                                                                                                                              set forth
                                                                                                                                                  forth
  10                                                                 above, Plaintiff sustained injuries and damages as set forth in this complaint.
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  11                                                                       64.    Plaintiff SHELDON LOCKETT is entitled to relief as set forth above
  12                                                                 and punitive damages against all Defendants in their individual capacities.
  13                                                                                             FIFTH CAUSE OF ACTION
  14                                                                                                     NEGLIGENCE
  15                                                                       PLAINTIFF SHELDON LOCKETT AGAINST ALL DEFENDANTS
  16                                                                       65.    Plaintiff SHELDON LOCKETT realleges each and every paragraph in
  17                                                                 this complaint as if fully set forth herein.
  18                                                                       66.    At all times, each Defendant owed Plaintiff SHELDON LOCKETT the
  19                                                                 legal duty to act with due care in the execution and enforcement of any right, law, or
  20                                                                 legal obligation.
  21                                                                       67.    At all times, each Defendant owed Plaintiff SHELDON LOCKETT the

  22                                                                 duty to act with reasonable care.
  23                                                                       68.    These general duties of reasonable care and due care owed to Plaintiff
  24                                                                 SHELDON LOCKETT by all Defendants include, but are not limited to, the
  25                                                                 following specific obligations:
  26                                                                       a.     To refrain from using excessive and/or unreasonable force against
  27                                                                              Plaintiff;
  28                                                                       b.     To refrain from unreasonably creating a situation where force is used;

                                                                                                                    13
                                                                                                                    13
                                                                                                                                                 DAMAGES
                                                                                                                     FIRST AMENDED COMPLAINT FOR DAMAGES
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                                       1                                    c.       To refrain from abusing their authority granted to them by law; and
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                                       2                                    d.       To refrain from violating Plaintiff SHELDON LOCKETT’s rights
                                       3                                             guaranteed by the United States and California Constitutions, as set
                                       4                                             forth in this complaint, and as otherwise protected by law.
                                       5                                    69.      Additionally, these general duties of reasonable care and due care owed
                                       6                              to Plaintiff SHELDON LOCKETT by Defendants COUNTY, DEPARTMENT,
                                       7                              SHERIFF, and DOES 1-20
                                                                                        1-20 include, but are not limited to, the following specific
                                                                                                                                            speciﬁc
                                       8                              obligations:
                                       9                                    a.       To properly and adequately hire, investigate, train, supervise, monitor,
  10                                                                                 evaluate, and discipline their employees, agents, and/or law
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  11                                                                                 enforcement officers to ensure that those employees/officers/deputies
  12                                                                                 act at all times in the public interest and in conformance with the law;
  13                                                                        b.       To make, enforce, and at all ties act in conformance with policies and
  14                                                                                 customs that are lawful and protective of individual rights, including
  15                                                                                 Plaintiff SHELDON LOCKETT’S rights; and
  16                                                                        c.       To refrain from making, enforcing, and/or tolerating the wrongful
  17                                                                                 policies and customs set forth above.
  18                                                                        70.      Defendants, through their acts and omissions, breached each and every
  19                                                                  one of the aforementioned duties owed to Plaintiff SHELDON LOCKETT.
  20                                                                        71.      As aa direct
                                                                                     As    direct and proximate result
                                                                                                  and proximate result of
                                                                                                                       of Defendants’
                                                                                                                          Defendants’ negligence,
                                                                                                                                      negligence, Plaintiff
  21                                                                  SHELDON LOCKETT sustained injuries and damages, and against each and every
  22                                                                  Defendant are entitled to relief as set forth above, and punitive damages against
  23                                                                  Defendants SHERIFF, ALDAMA, ORREGO, and DOES 1-20
                                                                                                                   1-20 in their individual

  24                                                                  capacities.
  25                                                                                               SIXTH CAUSE OF ACTION
  26                                                                                                     FALSE ARREST
  27                                                                        PLAINTIFF SHELDON LOCKETT AGAINST ALL DEFENDANTS
  28                                                                        72.      Plaintiff SHELDON LOCKETT realleges each and every paragraph in

                                                                                                                  14
                                                                                                                  14
                                                                                                                                                DAMAGES
                                                                                                                    FIRST AMENDED COMPLAINT FOR DAMAGES
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                                     1                               this complaint as if fully set forth herein.
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                                     2                                     73.    Plaintiff SHELDON LOCKETT was factually innocent and was
                                     3                               arrested without a warrant, or probable cause. Because of said false arrest, Plaintiff
                                     4                                                                                               ﬂowing
                                                                     SHELDON LOCKETT was incarcerated illegally and suffered damages flowing
                                     5                               therefrom. Defendants, and each of them, were a substantial factor in causing said
                                     6                               damages.
                                     7                                                         SEVENTH CAUSE OF ACTION
                                     8                                                             FALSE IMPRISONMENT
                                     9                                     PLAINTIFF SHELDON LOCKETT AGAINST ALL DEFENDANTS
  10                                                                       74.    Plaintiff SHELDON LOCKETT realleges each and every paragraph in
  NNNNNNNNNr—‘r—‘r—‘r—‘r—‘r—‘r—‘r—‘r—‘H
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  11                                                                 this complaint as if fully set forth herein.
  12                                                                       75.    Plaintiff
                                                                                  Plaintiff SHELDON LOCKETT, because of
                                                                                                                     of the false arrest as herein
  13                                                                 alleged, was held in the Los Angeles County Jail for a period of eight (8) months.
  14                                                                 The holding of Plaintiff SHELDON LOCKETT was illegal and the eight-month
  15                                                                 delay in releasing Plaintiff SHELDON LOCKETT was unnecessary because
  16                                                                 Defendants, and each of them, knew that he had not committed any crime. Plaintiff
  17                                                                 SHELDON LOCKETT did not consent to said delay, which caused Plaintiff
  18                                                                 SHELDON LOCKETT severe harm. Said conduct was a substantial factor in the
  19                                                                 harm caused to Plaintiff SHELDON LOCKETT.
  20                                                                                            EIGHTH CAUSE OF ACTION
  21                                                                               VIOLATION OF CALIFORNIA CIVIL CODE § 52.1
  22                                                                                             (BANE CIVIL RIGHTS ACT)
  23                                                                       PLAINTIFF SHELDON LOCKETT AGAINST ALL DEFENDANTS
  24                                                                       76.    Plaintiff SHELDON LOCKETT realleges each and every paragraph in
  25                                                                 this complaint as if fully set forth herein.
  26                                                                       77.    By their acts, omissions, customs, and policies, each Defendant acting
  27                                                                 in concert/conspiracy, as described above, violated Plaintiff SHELDON
  28                                                                           rights under
                                                                     LOCKETT’s rights under California
                                                                                            California Code
                                                                                                       Code Section
                                                                                                            Section 52.1,
                                                                                                                    52.1, and the following
                                                                                                                          and the following clearly
                                                                                                                                            clearly

                                                                                                                    15
                                                                                                                    15
                                                                                                                                                 DAMAGES
                                                                                                                     FIRST AMENDED COMPLAINT FOR DAMAGES
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                                       1                               established rights under the United States Constitution and the California
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                                       2                               Constitution:
                                       3                                     a.
                                                                             a.     The right to be free from unreasonable searches and seizures as secured
                                       4                                            by the Fourth and Fourteenth Amendments;
                                       5                                     b.     The right to be free from excessive and unreasonable force in the course
                                       6                                            of arrest or detention as secured by the Fourth and Fourteenth
                                       7                                            Amendments;
                                       8                                     c.     The right to be free from the use of unlawful tasing as secured by the
                                       9                                            Fourth and Fourteenth Amendments;
  10                                                                         d.     The right to be free of unlawful, reckless, deliberately indifferent, and
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  11                                                                                conscience-shocking force as secured by the Fourteenth Amendment;
  12                                                                         e.     The right to enjoy and defend life and liberty, acquire, possess, and
  13                                                                                protect property, and pursue and obtain safety, happiness, and privacy,
  14                                                                                as secured by the California Constitution, Article 1,
                                                                                                                                       1, Section 1;
                                                                                                                                                  1;
  15                                                                         f.     The right of life, liberty, and property and the right not to be deprived
  16                                                                                of those without due process of law as secured by the California
  17                                                                                Constitution, Article 1,
                                                                                                          1, Section 7;
  18                                                                         g.     The
                                                                                    The right
                                                                                        right to be free
                                                                                              to be free form unlawful and
                                                                                                         form unlawful     unreasonable seizure
                                                                                                                       and unreasonable seizure of
                                                                                                                                                of one’s
                                                                                                                                                   one’s
  19                                                                                person, including the right to be free from unreasonable or excessive
  20                                                                                force, as secured by the California Constitution, Article 1,
                                                                                                                                              1, Section 13;
                                                                                                                                                         13;
  21                                                                                and
  22                                                                         h.     The right to protection from bodily restraint, harm, or personal insult, as
  23                                                                                secured by California Civil Code § 43.
  24                                                                         78.    As aa direct
                                                                                    As    direct and proximate result
                                                                                                 and proximate result of
                                                                                                                      of Defendants’
                                                                                                                         Defendants’ violations
                                                                                                                                     violations of
                                                                                                                                                of California
                                                                                                                                                   California
  25                                                                   Civil Code § 52.1
                                                                                    52.1 and of                             rights under
                                                                                             of Plaintiff SHELDON LOCKETT’s rights under the United
                                                                                                                                         the United
  26                                                                   States and California Constitutions, Plaintiff SHELDON LOCKETT sustained
  27                                                                   injuries and damages, and against each and every Defendant are entitled to relief as
  28                                                                   set forth above, and punitive damages against Defendants SHERIFF, ALDAMA,

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                                                                                                                                                DAMAGES
                                                                                                                    FIRST AMENDED COMPLAINT FOR DAMAGES
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                                       1                               and ORREGO and DOES 11 through 20 in their individual capacities, including all
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                                       2                               damages allowed by California Civil Code §§ 52, 52.1, and California law, not
                                       3                               limited
                                                                       limited to
                                                                               to costs,
                                                                                  costs, attorneys’
                                                                                         attorneys’ fees,
                                                                                                    fees, and
                                                                                                          and civil penalties.
                                                                                                              civil penalties.
                                       4                                                           NINTH CAUSE OF ACTION
                                       5                                             VIOLATION OF CALIFORNIA CIVIL CODE § 51.7
                                       6                                                          (RALPH CIVIL RIGHTS ACT)
                                       7                                     PLAINTIFF SHELDON LOCKETT AGAINST ALL DEFENDANTS
                                       8                                     79.    Plaintiff SHELDON LOCKETT realleges each and every paragraph in
                                       9                               this complaint as if fully set forth herein.
  10                                                                         80.    By their acts, omissions, customs, and policies, Defendants, acting in
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  11                                                                   concert/conspiracy
                                                                       concert/conspiracy as
                                                                                          as described
                                                                                             described above,
                                                                                                       above, violated
                                                                                                              violated Plaintiff’s rights secured
                                                                                                                       Plaintiff’s rights         by
                                                                                                                                          secured by
  12                                                                   California Civil Code § 51.7 to be free from any violence, intimidation, or threat of
  13                                                                   violence.
  14                                                                         81.    As a direct and proximate result of Defendants’
                                                                                                                        Defendants’ violation of California
  15                                                                   Civil Code § 51.7, Plaintiff SHELDON LOCKETT sustained injuries and damages,
  16                                                                   and is entitled to relief as set forth above, and all damages allowed by California
  17                                                                   Civil Code §§ 52, 51.7, and California law, not limited to attorneys’ fees,
                                                                                                                                             fees, costs,
                                                                                                                                                   costs,
  18                                                                   treble damages, and civil penalties.
  19                                                                                               TENTH CAUSE OF ACTION
  20                                                                                            – UNREASONABLE SEARCH AND SEIZURE
                                                                               42 U.S.C. § 1983 —
  21                                                                                                    DAVIS
                                                                                    PLAINTIFFS MICHELLE DA VIS AND CLYDE DA
                                                                                                                         DAVIS
                                                                                                                            VIS
  22                                                                        AGAINST DEFENDANTS ORREGO AND ALDAMA
                                                                                                          ALDAMA AND DOES 1-20
  23                                                                         82.    Plaintiffs MICHELLE DAVIS and CLYDE DAVIS reallege each and
  24                                                                   every paragraph in this complaint as if fully set forth herein.
  25                                                                         83.    By the actions and omissions described above, Defendants ORREGO,
  26                                                                   ALDAMA, and DOES 1-20
                                                                                        1-20 violated 42 U.S.C. § 1983,
                                                                                                                  1983, depriving Plaintiffs
  27                                                                   MICHELLE DAVIS and CLYDE DAVIS of the clearly-established and well-settled
  28                                                                   constitutional right to be free from unreasonable searches and seizures as protected

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                                                                                                                                                   DAMAGES
                                                                                                                       FIRST AMENDED COMPLAINT FOR DAMAGES
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                                       1                               by the Fourth and Fourteenth Amendments to the United States Constitution.
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                                       2                                     84.    Defendants subjected Plaintiffs MICHELLE DAVIS and CLYDE
                                       3                               DAVIS to their wrongful conduct, depriving Plaintiffs MICHELLE DAVIS and
                                       4                               CLYDE DAVIS of rights described herein, knowingly, maliciously, and with
                                       5                               conscious and reckless disregard for whether the rights and safety of Plaintiffs
                                       6                               MICHELLE DAVIS and CLYDE DAVIS and others would be violated by their acts
                                       7                               and/or omissions.
                                       8                                     85.    As aa direct
                                                                                    As    direct and proximate result
                                                                                                 and proximate result of
                                                                                                                      of Defendants’
                                                                                                                         Defendants’ acts
                                                                                                                                     acts and/or
                                                                                                                                          and/or omissions
                                                                                                                                                 omissions

                                       9                               as set forth above, Plaintiffs MICHELLE DAVIS and CLYDE DAVIS sustained
  10                                                                   injuries and damages as set forth in this complaint.
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  11                                                                         86.    The conduct of Defendants entitles Plaintiffs MICHELLE DAVIS and
  12                                                                   CLYDE DAVIS to punitive damages and penalties allowable under 42 U.S.C. §§
  13                                                                   1983
                                                                       1983 and California Code of Civil Procedure § 3294.

  14                                                                         87.    Plaintiffs MICHELLE DAVIS and CLYDE DAVIS are entitled to
  15                                                                   reasonable costs
                                                                       reasonable costs and
                                                                                        and attorneys’
                                                                                            attomeys’ fees  under 42
                                                                                                       fees under 42 U.S.C.
                                                                                                                     U.S.C. §§ 1983
                                                                                                                               1983 and
                                                                                                                                    and California
                                                                                                                                        California Civil
                                                                                                                                                   Civil
  16                                                                   Code § 1021.5.
                                                                              1021.5.

  17                                                                                           ELEVENTH CAUSE OF ACTION
  18                                                                            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
  19                                                                                    ALL PLAINTIFFS AGAINST ALL DEFENDANTS
  20                                                                         88.    Plaintiffs reallege each and every paragraph in this complaint as if fully
  21                                                                   set forth herein.
  22                                                                         89.    Because of the intentional conduct as herein alleged, Plaintiff
  23                                                                   SHELDON LOCKETT suffered severe and debilitating emotional distress. As a
  24                                                                   result of said harm, Plaintiff SHELDON LOCKETT incurred medical expenses in an
  25                                                                   amount which will be proved at trial.
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                                                                                                                                               DAMAGES
                                                                                                                   FIRST AMENDED COMPLAINT FOR DAMAGES
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                                       1                                                            TWELFTH CAUSE OF ACTION
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                                       2                                            NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                                       3                                               ALL PLAINTIFFS AGAINST ALL DEFENDANTS

                                       4                                      90.    Plaintiffs reallege each and every paragraph in this complaint as if fully
                                       5                               set forth herein.
                                       6                                      91.    Because of the negligent conduct as herein alleged, Plaintiff
                                       7                               SHELDON LOCKETT suffered severe and debilitating emotional distress. As a
                                       8                               result of said harm, Plaintiff SHELDON LOCKETT incurred medical expenses in an
                                       9                               amount which will be proved at trial.
  10                                                                                                     PRAYER FOR RELIEF
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  11                                                                          WHEREFORE, Plaintiffs pray for judgment against Defendants, and each of
  12                                                                   them, as follows:
  13                                                                          1.
                                                                              1.     Compensatory and exemplary damages in an amount according to proof
  14                                                                   and which is fair, just, and reasonable;
  15                                                                          2.     Punitive damages under 42 U.S.C. § 1032
                                                                                                                        1032 and California law in an
  16                                                                   amount according to proof
                                                                                           proof and which is fair, just, and reasonable (as to the
  17                                                                   individual Defendants only);
  18                                                                          3.     All other damages, penalties, costs, interest, and
                                                                                                                                    and attorneys’
                                                                                                                                        attorneys’ fees
                                                                                                                                                   fees as
                                                                                                                                                        as
  19                                                                   allowed by 42 U.S.C. §§ 1983
                                                                                               1983 and 1988;
                                                                                                        1988; and 1021.5;
                                                                                                                  10215; California Civil Code §§ 52, et
  20                                                                   seq., 52.1, and 51.7, and as otherwise may be allowed by California and/or Federal
  21                                                                   law.
  22                                                                          4.     Injunctive relief as follows:
  23                                                                                 a. An order prohibiting Defendants and their deputies from unlawfully
  24                                                                                       interfering with the rights of Plaintiff and others to be free from
  25                                                                                       unreasonable searches and seizures and excessive and unreasonable
  26                                                                                       force;
  27                                                                                 b. An order prohibiting Defendants and their deputies from engaging in
  28                                                                                       a code of silence as may be supported by the evidence in this case;

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                                                                                                                       FIRST AMENDED COMPLAINT FOR DAMAGES
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                                       1                                         c. An order requiring Defendants to train all DEPARTMENT law
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                                       2                                            enforcement officers concerning generally accepted and proper
                                       3                                            tactics and procedures for the use of force; and
                                       4                                         d. An order requiring Defendants to be retrained in non-deadly force
                                       5                                            such as tasing.
                                       6
                                       7                               DATED: August 22, 2018         THE SWEENEY FIRM
                                       8
                                                                                                      and
                                       9
  10                                                                                                  GLICKMAN & GLICKMAN,
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                                                                                                      A LAW CORPORATION
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                                                                                                      By      /s/ John E. Sweeney
                                                                                                           John E. Sweeney
  14                                                                                                       Steven C. Glickman
  15                                                                                                       Nicole E. Hoikka
                                                                                                           Attorneys for Plaintiffs SHELDON LOCKETT,
  16                                                                                                       MICHELLE DAVIS, and CLYDE DAVIS
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                                       1                                                        DEMAND FOR JURY TRIAL
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                                       2                                    Plaintiffs demand a trial by jury.
                                       3
                                       4                               DATED: August 22, 2018         THE SWEENEY FIRM
                                       5
                                                                                                      and
                                       6
                                       7                                                              GLICKMAN & GLICKMAN,
                                                                                                      A LAW CORPORATION
                                       8
                                       9
                                                                                                      By      /s/ John E. Sweeney
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                                                                                                           John E. Sweeney
  11                                                                                                       Steven C. Glickman
                                                                                                           Nicole E. Hoikka
  12
                                                                                                           Attorneys for Plaintiffs SHELDON LOCKETT,
  13                                                                                                       MICHELLE DAVIS, and CLYDE DAVIS
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